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                                                                                  E-FILED
                                                        Monday, 10 March, 2014 01:03:50 PM
                                                              Clerk, U.S. District Court, ILCD

                   UNITED STATES DISTRICT COURT
                FOR THE CENTRAL DISTRICT OF ILLINOIS
                       SPRINGFIELD DIVISION


PAUL E. KINCAID,                      )
                                      )
                                      )
Plaintiff,                            )
                                      )
v.                                    )      09-CV-3053
                                      )
SANGAMON COUNTY, et al.,              )
                                      )
Defendants.                           )


                                   OPINION

SUE E. MYERSCOUGH, U.S. District Judge:

      Plaintiff, proceeding pro se from his incarceration in Marion

Penitentiary, pursues claims for deliberate indifference to his

serious medical needs during his detention as a federal pretrial

detainee held in the Sangamon County Jail.

      Defendants move for summary judgment. At the summary

judgment stage, the Court must resolve material disputes of fact in

Plaintiff's favor. Deciding whether to believe Plaintiff is the jury's

job. Stokes v. Board of Educ. of the City of Chicago, 599 F.3d 617

(7th Cir. 2010)("In deciding a motion for summary judgment,

neither the district court nor this court may assess the credibility of

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witnesses, choose between competing reasonable inferences, or

balance the relative weight of conflicting evidence.") Summary

judgment must be denied if a reasonable jury could find in

Plaintiff's favor. Milwaukee Deputy Sheriff's Ass'n v. Clarke, 574

F.3d 370, 376 (7th Cir. 2009).

     Defendants' evidence shows that a reasonable jury could

certainly find in Defendants' favor. Defendants have evidence that

they reasonably responded to Plaintiff's need for medical treatment

and that Plaintiff's description of his medical conditions are

exaggerated.

     However, a reasonable jury could also find in Plaintiff's favor.

According to Plaintiff, Plaintiff essentially languished at death's door

while Defendants ignored his repeated pleas. Thus, the resolution

of this case belongs to the jury, not the judge. Summary judgment

must be denied.

                               BACKGROUND

      The facts in this section are set forth in the light most

favorable to Plaintiff. The Court sets forth only the facts necessary

to demonstrate that material disputes exist for the jury.



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     According to Plaintiff, he lost over 85 pounds from the

beginning of his detention at the jail on September 6, 2006, to

about the end of March, 2007, because of what he understood to be

gastrointestinal reflux disease and a hiatal hernia. Plaintiff says

that he had difficulty digesting the jail food, which caused him to

vomit and experience digestive pain. (Pl.'s Aff. ¶ 5.) Plaintiff avers

that he had been taking Prilosec/Nexium before his arrest and

continued to do so in jail until Dr. Cullinan discontinued the

medicine. Dr. Cullinan is not a Defendant in this case, but Plaintiff

avers that he repeatedly informed Defendants Dr. Maurer and

Nurse Brauer, both orally and in writing, about Plaintiff's problems

digesting food, weight loss, and vomiting. (Pl.'s Aff. ¶¶ 6, 8.)

According to Plaintiff, Dr. Maurer and Nurse Brauer effectively

shrugged, told Plaintiff he needed to lose weight anyway, and

refused to change Plaintiff's diet. Id.

     On or around March 30, 2007, Plaintiff, 66 years old at the

time, fell ill with a severe sore throat. Plaintiff avers that he could

not swallow, was vomiting, had diarrhea, and could not eat or

drink.



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     On April 1, 2007, Plaintiff informed Defendant Nurse Brauer,

both orally and in writing, that Plaintiff was getting sicker, vomiting,

coughing up blood, could not drink or eat, had diarrhea, and

believed he had a sinus infection. (Pl.'s Aff. ¶ 16.) According to

Plaintiff, Nurse Brauer admonished Plaintiff that he "whined too

much" and sent Plaintiff away with no exam or treatment. By that

evening, Plaintiff avers that his fever reached 104 degrees. (Pl.'s Aff.

¶ 18.) Defendant Dr. Maurer prescribed Cipro, an antibiotic, but

Plaintiff asserts that he received nothing for his pain or

dehydration. Dr. Maurer avers that Tylenol was prescribed for

Plaintiff's pain, but Plaintiff diputes this, asserting the Tylenol

prescription was temporary and only helped with his fever.

     Dr. Maurer saw Plaintiff on April 2, 2007. Nurse Ramsey was

present as well. According to Plaintiff, by this time Plaintiff was

extremely and visibly ill, with excruciating pain, vomiting, diarrhea,

bloody mucous from heavy coughing, and an inability to eat or

drink. (Pl.'s Aff. ¶ 23.) According to Plaintiff, Dr. Maurer did

nothing other than tell Plaintiff to take the Cipro with a glass of

water, despite Plaintiff's obvious dehydration, reported inability to



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drink, and throat pain so severe Plaintiff had difficulty swallowing.

(Pl.'s Aff. ¶ 24.)

      Also on April 2, 2007, Plaintiff's criminal defense attorney, Jon

Gray Noll, sent a letter to Defendant U.S. Marshal Cowdrey,

expressing extreme concern about Plaintiff s condition and asking

the U.S. Marshals Service to address Plaintiff's apparent failing

health. Mr. Noll wrote about Plaintiff's 85 pound weight loss,

difficulty maintaining fluids, and Plaintiff's belief that he had strep

throat and a sinus infection.

      In response to Attorney Noll's letter, Defendant Cowdrey spoke

to Licensed Practical Nurse Nicey, an employee at the jail.

Defendant Cowdrey's notes from that conversation, dated April 2,

2007, state that Plaintiff had been prescribed antibiotics, had no

temperature, clear lungs, a sore throat, and would see Dr. Maurer

on April 9, 2007. According to Defendant Cowdrey, Nurse Nicey

told Cowdrey that Plaintiff's medical issues were being addressed,

that no medical emergency was present, and that the weight loss

was being monitored. However, two days later Plaintiff's friend,

Steve Collins, phoned the Marshal's Office around 8:00 p.m. to

report Plaintiff's worsening condition. Mr. Collins spoke to a female

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operator who told Mr. Collins that the message would be forwarded

to Defendant Cowdrey. (Collins Aff. ¶ 39.) This is hearsay as to

whether Cowdrey actually received the message, but a reasonable

inference arises that Cowdrey would have received the message in

the normal course of business.

     According to Plaintiff, his condition continued to worsen. On

April 4, 2007, Dr. Maurer and Nurse Ramsey saw Plaintiff again.

Dr. Maurer avers that his examination of Plaintiff was

unremarkable, but Plaintiff disputes this. Plaintiff describes

himself as "in an emaciated state, in complete medical distress,"

with severe dehydration and throat pain and an inability to eat or

drink. (Pl.'s Aff. ¶ 39.) Plaintiff's sister, Judy Cooke, and a nearby

cellmate of Plaintiff's, Stephen Puckett, offer their own affidavits to

corroborate Plaintiff's own account of his severe and obvious

deterioration during this time. Judy Cooke avers that Plaintiff

looked like a "dead man walking" when she visited him—that

"anyone who would have seen Paul on that day would have to be

blind not to see a man in crisis and total distress." (Cooke Aff. ¶ 6,

11.) Stephen Puckett avers that he personally witnessed Plaintiff's

physical deterioration day after day and was so alarmed that he

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called Steve Collins because he feared Plaintiff was going to die.

(Puckett Aff. ¶ 9.)

     On April 4, 2007, Dr. Maurer ordered some blood and urine

tests and an x-ray. Several markers on those tests were abnormal,

but Plaintiff was not informed of the results despite his requests,

according to Plaintiff. The x-ray showed that Plaintiff's lungs were

clear.

     On the evening of April 11, 2007, Plaintiff avers that he began

convulsing. (Pl.'s Aff. ¶ 117.) After thirty minutes of convulsing,

Plaintiff was taken to the hospital emergency room, he says

writhing and screaming in pain while officers purportedly mocked

him. Id. Plaintiff remained in the hospital for several days and was

diagnosed with acute and chronic cholecystitis (gallbladder

inflammation) with cholelithiases (gallstones). (St. John's Hospital

Note, Pl.'s Exhibits 2-92, 2-94.) Plaintiff had surgery to remove his

gallbladder on April 14, 2007. (id.; Pl.'s Aff. ¶ 136.)

                                      ANALYSIS

     Plaintiff had a constitutional right to be free from deliberate

indifference to his serious medical needs during his detention at the

jail. King v. Kramer, 680 F.3d 1013, 1018 (7th Cir. 2012). A

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reasonable juror could find that Plaintiff suffered from a serious

medical need based on Plaintiff's own description of his symptoms.

If believed, Plaintiff was unable to eat, drink, function, was severely

dehydrated, had (at least for part of the time) a fever of 104, was in

severe pain, and suffered convulsions. Plaintiff avers that he felt

like he was dying.

     The question is whether a reasonable jury could find that

Defendants were deliberately indifferent to Plaintiff's serious

medical needs. The answer depends in large part on whether the

jury believes Plaintiff's testimony. If the jury believes that Plaintiff

looked like he was wasting away before everyone's eyes as Plaintiff

describes, then a reasonable jury could conclude that Defendants

knew, long before Plaintiff fell into convulsions, that whatever

medical treatment was being provided was woefully inadequate.

See, e.g., Sherrod v. Lingle, 223 F.3d 605, 612 (7th Cir. 2000)("If

knowing that a patient faces a serious risk of appendicitis, the

prison official gives the patent an aspirin and an enema and sends

him back to his cell, a jury could find deliberate indifference

although the prisoner was not 'simply ignored.'")(reversing summary

judgment). The jury could conclude that Dr. Maurer's refusal to

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alter his approach in the face of Plaintiff's worsening condition was

"such a substantial departure from accepted professional judgment,

practice, or standards as to demonstrate" that Dr. Maurer did not

base his decision on a professional judgment. King, 680 F.3d at

1019 (quoting Estate of Cole by Pardue v. Fromm, 94 F.3d 254, 261-

62 (7th Cir. 1996).

     A reasonable jury could also find that Nurses Brauer and

Ramsey were deliberately indifferent to Plaintiff's plight. Nurses are

generally expected to defer to the physician's judgment, but that

deference "may not be blind or unthinking, particularly if it is

apparent that the physician's order will likely harm the patient."

Berry v. Peterman, 604 F.3d 435, 443 (7th Cir.2010). If Plaintiff's

version is believed, a reasonable jury could find that the nurses

turned a blind eye to Dr. Maurer's obviously deficient treatment.

     The Defendants without medical training—Cowdrey,

Williamson, Durr, Beckner, Strayer, and Cain—generally would be

entitled to rely on the judgment of the medical professionals.

Greeno v. Daley, 414 F.3d 645, 657 (7th Cir. 2005)(nonmedical

defendants' investigation into prisoner's medical complaints and

reliance on medical staff's assurances is not deliberate indifference).

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Unless, that is, a detainee's medical need is so obvious and so

serious that even a layperson would know that the medical care

offered (or withheld) ignores a substantial risk of serious harm.

King v. Kramer, 680 F.3d 1013, 1018 (7th Cir. 2012)(nonmedical

defendants may be liable if “‘they have a reason to believe (or actual

knowledge) that prison doctors or their assistants are mistreating

(or not treating) a prisoner.’”)(quoted cites omitted); Greeno v. Daley,

414 F.3d 645, (7th Cir. 2005).

     Plaintiff's evidence allows an inference that he and others

personally and repeatedly informed the nonmedical Defendants of

Plaintiff's alarming physical decline, which, in their view, would

have been obvious to anyone. Though Plaintiff has an uphill battle,

the Court cannot rule out that Plaintiff's medical needs were so

obvious that the nonmedical Defendants turned a blind eye. What

Defendants each individually knew and could do about the

situation is something the jury must decide.

     Defendant Cowdrey asserts that, though Plaintiff was legally in

the custody of the U.S. Marshals Office, the jail was responsible for

providing Plaintiff's medical care pursuant to an Intergovernmental

Service Agreement. However, the agreement does not protect

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Cowdrey from liability for turning a blind eye to Plaintiff's serious

medical needs. An inference arises from Plaintiff's evidence that

Defendant Cowdrey knew about Plaintiff's deterioration in early

April, 2007, had the authority to intervene, and unreasonably relied

on the nurse's assessment of Plaintiff's condition.

     The Court reaches the same conclusion regarding Plaintiff's

claim that the medical Defendants refused to prescribe Plaintiff a

special diet. According to Plaintiff, his medical conditions made it

very difficult for him to digest the jail food—he repeatedly

experienced diarrhea, pain, and vomiting, losing 85 pounds

involuntarily. Defendants do not dispute that Plaintiff had these

difficulties or lost over eighty pounds. From Plaintiff's response, the

Court understands the weight loss claim to be against only Dr.

Maurer and Nurse Ramsey. (Pl.'s Resp. ¶¶ 68-73.)

     Defendants assert qualified immunity, which protects

government actors from liability unless they violate an individual's

clearly established federal rights. Brokaw v. Mercer County, 235

F.3d 1000, 1022 (7th Cir.2000). However, Defendants cannot

obtain qualified immunity based on their version of disputed facts.

Gutierrez v. Kermon, 722 F.3d 1003, 1010 (7th Cir. 2013).

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Accepting Plaintiff's version, Plaintiff was visibly and extremely ill,

continuing to worsen even after starting the antibiotic, unable to eat

or drink. Plaintiff and others repeatedly begged Defendants for

medical care beyond what Plaintiff was receiving, but Defendants

either refused or turned a blind eye until Plaintiff fell into

convulsions. Under Plaintiff's version of the facts, a reasonable

government actor would have known that Plaintiff had some kind of

very serious medical need which was not being addressed. A

reasonable government actor would know that failing to take

reasonable action in the face of that knowledge violated Plaintiff's

clearly established right to be free from deliberate indifference to his

serious medical needs.

     The only Defendants for whom summary judgment might be

warranted is the County and the Sheriff's Department, to the extent

Plaintiff is suing these Defendants on a claim of unconstitutional

policy or practice. The County or the Sheriff's Department can be

liable for Plaintiff's constitutional deprivations only if the purported

constitutional violations were caused by an official policy or practice

attributable to the County or Sheriff's Department. Smith v.

Sangamon County Sheriff's Dept., 715 F.3d 188, 192 (7th Cir.

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2013)("'[T]here must be an affirmative link between the policy and

the particular constitutional violation alleged.'")(quoted cite

omitted).

     Plaintiff asserts that the jail's policy of requiring the nurse on

site to obtain the physician's approval before transporting a

detainee to the hospital caused Plaintiff 30 more minutes of

excruciating, needless pain. Plaintiff points to a consultant report

dated August 13, 2008, which recommended that nurses have the

authority to send a patient out for emergent care without first

obtaining the physician's consent. (8/13/08 consultant report, Pl.'s

Ex. 2-100.) The incidents discussed in the report were situations

where the physician on call had denied consent to outside medical

care. No concerns about delays encountered when consent is given

by the physician were discussed in the report. Id. p. 3. (harm must

be "'so patently obvious'" that the policy or lack of policy effectively

"'sanctioned the harmful conduct.'")

     However, Defendants do not address this claim in their

summary judgment motion. In order to ensure that a jury question

exists, Defendants will be directed to file a supplemental motion for

summary judgment on this issue.

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IT IS ORDERED:

     1) By April 7, 2014, the County and the Sheriff's Department

are directed to file a summary judgment motion on Plaintiff's

unconstitutional policy claim.

     2) A final pretrial conference is scheduled for July 7, 2014 at

10:45 a.m. Plaintiff shall appear by video conference. Defense

counsel shall appear in person.

     3) An agreed, proposed final pretrial order is due June

23, 2014.

      4) Motions in limine are due June 23, 2014, with

responses thereto due June 30, 2014.

     5) The Court will send out proposed jury instructions

and voir dire for discussion at the final pretrial conference.

Additional or alternate instructions and additional voir dire

questions are due June 23, 2014.

     6) Plaintiff and Defense counsel must bring their

exhibits, marked, to the final pretrial conference.

     7) Objections to exhibits are due June 30, 2014.

Objections must attach the exhibit at issue.



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           8) The jury selection and trial are scheduled for

September 15-19, 2014, beginning at 9:00 a.m. each day.

           9) The clerk is directed to issue a video writ to

secure Plaintiff's presence at the final pretrial conference.

           10) Defendants' motions for summary judgment are

denied (d/e's 111, 125, 131).

           11) Dr. Maurer's motions to strike Plaintiff's request

for judicial notice of medical articles are denied as moot

(d/e's 162, 163).1 The articles have not been considered in

the Court's order on summary judgment.

           12) The clerk is directed to terminate the

unidentified defendants.

           ENTER:           March 10, 2014

           FOR THE COURT:



                                                          s/Sue E. Myerscough
                                                          SUE E. MYERSCOUGH
                                                      UNITED STATES DISTRICT JUDGE




1
    Motion 162 was incorrectly docketed as a motion for the appointment of counsel.

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